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                        EXHIBIT B
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                                                 Mindy Beckham                  Stewart Title of California, Inc.
                                                 Title Officer                  2801 Townsgate Rd #111
                                                                                Westlake Village, CA 91361
                                                                                Phone: (805) 367-5628
                                                                                Fax:
                                                                                teammindy@stewart.com




                                      PRELIMINARY REPORT
 Order No.:                 2045167
 Your File No.:             105890 AA
 Buyer/Borrower Name:       Roll Sparrow LLC
 Seller Name:               Leslie Klein and Erika Klein

 Property Address: 2560 N Whitewater Club Drive, Unit B, Palm Springs, CA 92262

 In response to the above referenced application for a Policy of Title Insurance, Stewart Title of California,
 Inc. hereby reports that it is prepared to issue, or cause to be issued, as of the date hereof, a Stewart Title
 Guaranty Company Policy or Policies of Title Insurance describing the land and the estate or interest therein
 hereinafter set forth, insuring against loss which may be sustained by reason of any defect, lien or
 encumbrance not shown or referenced to as an Exception on Schedule B or not excluded from coverage
 pursuant to the printed Schedules, Conditions, and Stipulations of said Policy forms.
 The printed Exceptions and Exclusions from the coverage and Limitations on covered Risks of said policy
 or policies are set forth in Exhibit A attached. The policy to be issued may contain an arbitration clause.
 When the Amount of Insurance is less than that set forth in the arbitration clause, all arbitrable matters shall
 be arbitrated at the option of either the Company or the Insured as the exclusive remedy of the parties.
 Limitations on Covered Risks applicable to the CLTA and ALTA Homeowner’s Policies of Title Insurance
 which establish a Deductible Amount and a Maximum Dollar Limits of Liability for certain coverages are
 also set forth in Exhibit A. Copies of the policy forms should be read. They are available from the office
 which issued this report.
 Please read the exceptions shown or referred to below and the exceptions and exclusions set forth in
 Exhibit A of this report carefully. The exceptions and exclusions are meant to provide you with notice of
 matters, which are not covered under the terms of the title insurance policy and should be carefully
 considered.
 It is important to note that this preliminary report is not a written representation as to the condition of title
 and may not list all liens, defects, and encumbrances affecting title to the land.
 This report, (and any supplements or amendments thereto) is issued solely for the purpose of facilitating
 the issuance of a policy of title insurance and no liability is assumed hereby. If it is desired that liability be
 assumed prior to the issuance of a policy of title insurance a binder or commitment should be requested.

 Dated as of March 13, 2024 at 7:30AM
                                                                       Update No. 3
 When replying, please contact: Mindy Beckham, Title Officer

                                       Stewart Title of California, Inc.
                                       2801 Townsgate Rd #111
                                       Westlake Village, CA 91361
                                       (805) 367-5628
                                       teammindy@stewart.com




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 IF ANY DECLARATION, GOVERNING DOCUMENT (FOR EXAMPLE,
 COVENANT, CONDITION OR RESTRICTION) OR DEED IDENTIFIED
 AND/OR LINKED IN THIS TITLE PRODUCT CONTAINS ANY
 RESTRICTION BASED ON AGE, RACE COLOR, RELIGION, SEX,
 GENDER, GENDER IDENTITY, GENDER EXPRESSION, SEXUAL
 ORIENTATION, FAMILIAL STATUS, MARITAL STATUS, DISABILITY,
 VETERAN OR MILITARY STATUS, GENETIC INFORMATION,
 NATIONAL ORIGIN, SOURCE OF INCOME AS DEFINED IN
 SUBDIVISION (p) OF SECTION 12955, OR ANCESTRY, THAT
 RESTRICTION VIOLATES STATE AND FEDERAL FAIR HOUSING
 LAWS AND IS VOID, AND MAY BE REMOVED PURSUANT TO
 SECTION 12956.2 OF THE GOVERNMENT CODE BY SUBMITTING A
 “RESTRICTIVE COVENANT MODIFICATION” FORM, TOGETHER WITH
 A COPY OF THE ATTACHED DOCUMENT WITH THE UNLAWFUL
 PROVISION REDACTED TO THE COUNTY RECORDER’S OFFICE. THE
 “RESTRICTIVE COVENANT MODIFICATION” FORM CAN BE
 OBTAINED FROM THE COUNTY RECORDER’S OFFICE AND MAY BE
 AVAILABLE ON ITS WEBSITE. THE FORM MAY ALSO BE AVAILABLE
 FROM THE PARTY THAT PROVIDED YOU WITH THIS DOCUMENT.
 LAWFUL RESTRICTIONS UNDER STATE AND FEDERAL LAW ON THE
 AGE OF OCCUPANTS IN SENIOR HOUSING OR HOUSING FOR
 OLDER PERSONS SHALL NOT BE CONSTRUED AS RESTRICTIONS
 BASED ON FAMILIAL STATUS.




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                                    PRELIMINARY REPORT

 The form of Policy of Title Insurance contemplated by this report is:

 ☐ Standard Coverage Owner’s Policy

 ☐ Extended Coverage Owner’s Policy

 ☒ CLTA/ALTA Homeowners Policy

 ☐ Standard Coverage Loan Policy

 ☒ Extended Coverage Loan Policy

 ☐ Short Form Residential Loan Policy

 ☐ Other: ________


                                            SCHEDULE A

 The estate or interest in the land hereinafter described or referred to covered by this report is:

 A Condominium as defined in Section 783 of California Civil Code, in fee as to parcel(s) 1 and 2 and an
 easement more particularly described as to parcel(s) 3.

 Title to said estate or interest at the date hereof is vested in:

 Leslie Klein and Erika Klein, husband and wife as joint tenants




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                                     LEGAL DESCRIPTION

 The land referred to herein is situated in the State of California, County of Riverside, City of Palm
 Springs and described as follows:

 A Condominium comprised of:

 Parcel 1:

 An undivided 1/42 interest in and to Lot 1 of Tract No. 9317, in the City of Palm Springs, County of
 Riverside, State of California, as shown by Map of file in Book 91, Pages 44 and 45, of Maps, Records of
 Riverside County, California.

 Excepting therefrom Units 1 to 42, as shown upon the Condominium Plan recorded July 20, 1977 as
 Instrument No. 137713 of Official Records of Riverside County, California.

 Parcel 2:

 Unit 32A, B, and C, as shown upon the Condominium Plan referred to in Parcel 1 above.

 Parcel 3:

 A non-exclusive easement for ingress and egress over that certain road shown as Whitewater Club Drive,
 which extends from the Westerly boundary of Tract No. 4362, as shown by Map on file in Book 70, Pages
 89 and 90, of Maps, Records of Riverside County, California, to Farroll Drive, in the City of Palm Springs.
 The easements described in that certain Easement Deed from Whitewater Country Club, a California
 corporation, to the City of Palm Springs, a municipal corporation, recorded on January 4, 1972 as
 Instrument No. 1061 of Official Records of Riverside County, California.

 APN: 501-500-033

 (End of Legal Description)

 MAP

 THE MAP CONNECTED HEREWITH IS BEING PROVIDED AS A COURTESY AND FOR
 INFORMATIONAL PURPOSES ONLY; THIS MAP SHOULD NOT BE RELIED UPON. FURTHERMORE,
 THE PARCELS SET OUT ON THIS MAP MAY NOT COMPLY WITH LOCAL SUBDIVISION OR
 BUILDING ORDINANCES. STEWART ASSUMES NO LIABILITY, RESPONSIBILITY OR
 INDEMNIFICATION RELATED TO THE MAPS NOR ANY MATTERS CONCERNING THE CONTENTS
 OF OR ACCURACY OF THE MAP.




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                                              SCHEDULE B

 At the date hereof, exceptions to coverage in addition to the printed exceptions and exclusions
 contained in said policy or policies would be as follows:

 Taxes:

     A.    Property taxes, which are a lien not yet due and payable, including any assessments collected
           with taxes, to be levied for the fiscal year 2024 - 2025.

     B.    General and special city and/or county taxes, including any personal property taxes, and any
           assessments collected with taxes, for the fiscal year 2023 - 2024:
           1st Installment        : $1,214.51
           Status 1st             : Delinquent
           Delinquent Date        : December 11, 2023
           Penalty                : $121.45
           2nd Installment:       : $1,214.51
           Status 2nd             : Open
           Parcel No.             : 501-500-033
           Code Area/Tracer No. : 011-005

     C.    Property taxes have been declared defaulted for non-payment of delinquent taxes for the fiscal
           year(s) 2022 for Parcel No. 501-500-033. Amounts due show as follows:
           Amount: $1,576.45; due by: March 31, 2024
           Amount: $1,594.69; due by: April 30, 2024
           Amount: $1,612.93; due by: May 31, 2024
           Prior to recording, the final amounts due must be confirmed with tax collector.

     D.    The lien of supplemental taxes, if any, assessed pursuant to the provisions of Chapter 3.5
           (commencing with Section 75) of the Revenue and Taxation Code of the State of California.

     E.    Taxes and/or assessments affecting the land, if any, for Community Facility Districts including
           Mello Roos Districts which may exist by virtue of assessment maps or notices filed by said
           districts. Said taxes and/or assessments are typically collected with the County taxes; however,
           some districts may remove these taxes and/or assessment from the County taxes and assess
           and collect them separately.
           A resolution establishing watershed benefit assessment areas which provides for the issuing of
           bonds and the levying of a special tax to pay the interest and principal payments on such bonds
           upon the herein described property, recorded June 10, 1991 as Instrument Nos. 193749,
           193750 and 193751 of Official Records of Riverside County, California.

           Reference is hereby made to said document for further and other particulars.

     F.    Prior to recording, the final amount due for taxes must be confirmed with tax collector.

 Exceptions:

     1.    Water rights, claims, or title to water, whether or not shown by the Public Records.

     2.    Any claim to (a) ownership of or rights to minerals and similar substances, including but not
           limited to ores, metals, coal, lignite, oil, gas, uranium, clay, rock, sand, and gravel located in, on,
           or under the Land or produced from the Land, whether such ownership or rights arise by lease,
           grant, exception, conveyance, reservation, or otherwise; and (b) any rights, privileges,
           immunities, rights of way, and easements associated therewith or appurtenant thereto, whether
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           or not the interests or rights excepted in (a) or (b) appear in the Public Records or are shown in
           Schedule B.

     3.    Easements or servitudes appearing in the Public Records affecting the common area.

     4.    Rights of parties in possession to any parking spaces, garages, and/or storage spaces.

     5.    Easement and rights incidental thereto for public utilities to California Electric Power Company
           and California Water and Telephone Company, as set forth in a document recorded January 16,
           1958, in Book 2207 Page 224, of Official Records.

     6.    Easement and rights incidental thereto for ingress and egress and public utilities to City of Palm
           Springs, California, a municipal corporation, as set forth in a document recorded January 4,
           1972, as Instrument No. 1061, of Official Records.

     7.    Easement and rights incidental thereto for water and sewage pipe lines to Desert Water
           Agency, as set forth in a document recorded March 9, 1972, as Instrument No. 31980, of
           Official Records.

     8.    Matters contained in a survey filed in Book 56 Page 29 of Records of Survey.

     9.    Matters as shown on the Map of Tract No. 9317, filed in Book 91, Pages 44 and 45, of Maps
           together with any provisions and recitals contained therein.

     10.   Easement and rights incidental thereto for public utilities to General Telephone Company of
           California, a corporation, as set forth in a document recorded October 18, 1977, as Instrument
           No. 206180, of Official Records.

     11.   Easement and rights incidental thereto for pipe lines to Desert Water Agency, as set forth in a
           document recorded October 18, 1977, as Instrument No. 206239, of Official Records.

     12.   Easement and rights incidental thereto for pipe lines to Southern California Gas Company, as
           set forth in a document recorded November 10, 1977, as Instrument No. 225170, of Official
           Records.

     13.   Easement and rights incidental thereto for either or both pole lines, conduits or underground
           facilities to Southern California Edison Company, a corporation, as set forth in a document
           recorded November 21, 1977, as Instrument No. 232449, of Official Records.

     14.   Covenants, conditions, restrictions, easements, matters, charges and assessments as set forth
           in a document, recorded November 12, 1997 as Instrument No. 414397, of Official Records.

           Said covenants, conditions, and restrictions provide that a violation thereof shall not defeat or
           render invalid the lien of any mortgage or deed of trust made in good faith and for value.

     15.   Deed of Trust to secure an indebtedness in the amount shown below, and any other obligations
           secured thereby:
           Amount                : $228,000.00
           Trustor               : Leslie Klein and Erika Klein
           Trustee               : Optima, a California Corporation
           Beneficiary           : Washington Mutual Bank, FA, a Federal Association
           Recorded              : August 11, 2005, as Instrument No. 2005-0654449, of Official Records

           Said deed of trust appears to be an equity line or a revolving line of credit. Prior to recording, a
           written statement from the beneficiary confirming that the account is frozen must be obtained.
           Borrower may be required to provide a sworn written statement of indemnity assuring that said
           deed of trust is frozen and closed. In addition, upon recording and payoff, the account must be
           closed and reconveyed by the beneficiary.


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           Substitution of trustee naming Quality Loan Service Corporation as trustee recorded on March
           25, 2022, as Instrument No. 2022-0146601, of Official Records.

           A Notice of default recorded on April 18, 2022, as Instrument No. 2022-0183082, of Official
           Records.

           A Notice of Trustee's Sale recorded on February 9, 2023, as Instrument No. 2023-0038554, of
           Official Records.

     16.   Notice of assessment and/or lien filed by Palm Springs Country Club Homeowners Association
           Phase III, in the amount of $7,360.56, recorded December 30, 2021, as Instrument No. 2021-
           0765522, of Official Records.

     17.   Matters contained in a document entitled "Voluntary Petition for individuals filing for
           Bankruptcy", recorded April 5, 2023, as Instrument No. 2023-0097413, of Official Records.

     18.   Unsecured property taxes in the amount of $335.33 and other amounts due thereunder,
           recorded July 14, 2022 as Instrument No. 2022-0315327, of Official Records.

     19.   The requirement that you provide the following for review and approval for recording:
              (a) an Affidavit of Death of Erika Klein, whose interest was acquired in the deed recorded on
           July 5, 1979, as Instrument No. 140022, of Official Records.
              (b) an original certified copy of a Certificate of Death for the above referenced decedent to
           attach to the Affidavit of Death.

     20.   In order to insure, provide for review and approval prior to recording, a copy of the proposed
           draft of the order from the Bankruptcy Court regarding the disposition of the Land.
           Additional requirements or items may be requested upon review of the required documents set
           forth above; contact your title officer for further instruction.

     21.   The requirement that a letter be provided from each Homeowner's Association stating that all
           liens/dues are current.

     22.   To assist in the clarifying, confirming and eliminating certain title matters, provide to Stewart
           Title, prior to recording, a completed Statement of Information for all identified and known
           Sellers/Owners in this transaction.


 (End of Exceptions)




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                               NOTES AND REQUIREMENTS

     A. There are no transfers or conveyances shown in the Public Records within 24 months of the date
        of this Preliminary Report. If you have knowledge of any transfers or conveyances, please contact
        your title officer immediately for further requirements.
     B. There are no items in this Preliminary Report that will cause Stewart Title Guaranty Company to
        decline to attach the CLTA Endorsement Form 116 (or equivalent ALTA 22.1) or the CLTA
        Endorsement Form 116.01-06 (or equivalent ALTA 22-06), there is located a Condominium
        known as 2560 N Whitewater Club Drive, Unit B, Palm Springs, California .
     C. All Transactions - Seller(s) and Buyer(s) or Borrowers are provided, as attachments, the
        document entitled "Acknowledgement of Receipt, Understanding and Approval of STG Privacy
        Notice for Stewart Title Companies and Stewart's Affiliated Business Arrangement Disclosure
        Statement" and the individually or similarly named documents, for review and acknowledgment
        prior to closing.
     D. All Transactions - Buyer(s)/Seller(s)/Borrower(s) are provided the Preliminary Report for review
        and acknowledgment prior to closing. Buyer(s) approval shall include the Preliminary Report
        items that are to remain as exceptions to the title policy.
     E. All Transactions - Seller(s)/Owner(s) shall submit for review, prior to closing, a completed Stewart
        Title Guaranty Company's Owner's Affidavit and Indemnity.
     F. There are no items in this Preliminary Report that will cause Stewart Title Guaranty Company to
        decline to attach the CLTA Endorsement Form 100 (or equivalent ALTA 9), or, if applicable, the
        CLTA Endorsement Form 115.1-06 (or euivalent ALTA 4-06) or CLTA Endorsement Form 115.1
        (or equivalent ALTA 4) or the CLTA Endorsement Form 115.2-06 (or equivalent similar ALTA 5
        equivalent)to an ALTA Loan Policy, when issued in accordance with Stewart Title Guaranty
        Company's guidelines.
     G. A Preliminary Change of Ownership Report must be completed by the transferee (buyer) prior to
        the transfer of property in accordance with the provisions of Section 480.3 of the Revenue and
        Taxation Code. The Preliminary Change of Ownership Report should be submitted to the
        recorder concurrent with the recordation of any document effecting a change of ownership. If a
        document evidencing a change of ownership (i.e. Deed, Affidavit-Death Joint Tenant) is
        presented to the recorder for recording without a preliminary change of ownership report, the
        recorder may charge an additional $20.00.




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                             CALIFORNIA "GOOD FUNDS" LAW
 California Insurance Code Section 12413.1 regulates the disbursement of escrow and sub-escrow funds
 by title companies. The law requires that funds be deposited in the title company escrow account and
 available for withdrawal prior to disbursement. Funds received by Stewart Title of California, Inc. via wire
 transfer may be disbursed upon receipt. Funds received via cashier’s checks or teller checks drawn on a
 California Bank may be disbursed on the next business day after the day of deposit. If funds are received
 by any other means, recording and/or disbursement may be delayed, and you should contact your title or
 escrow officer. All escrow and sub-escrow funds received will be deposited with other escrow funds in one
 or more non-interest bearing escrow accounts in a financial institution selected by Stewart Title of California,
 Inc.. Stewart Title of California, Inc. may receive certain direct or indirect benefits from the financial
 institution by reason of the deposit of such funds or the maintenance of such accounts with the financial
 institution, and Stewart Title of California, Inc. shall have no obligation to account to the depositing party in
 any manner for the value of, or to pay to such party, any benefit received by Stewart Title of California, Inc..
 Such benefits shall be deemed additional compensation to Stewart Title of California, Inc. for its services
 in connection with the escrow or sub-escrow.

 If any check submitted is dishonored upon presentation for payment, you are authorized to notify all
 principals and/or their respective agents of such nonpayment.




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Procedures to Accompany the Restrictive Covenant Modification Form
 The law prohibits unlawfully restrictive covenants based upon:

 “…age, race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, familial
 status, marital status, disability, veteran or military status, genetic information, national origin, source of
 income as defined in subdivision (p) of Section 12955, or ancestry… Lawful restrictions under state and
 federal law on the age of occupants in senior housing or housing for older persons shall not be construed
 as restrictions based on familial status.”

 As the individual holding or acquiring an interest in the property, you may have any unlawfully restrictive
 covenants “removed”, which means “redacted.”

 To have the unlawfully restrictive covenant removed, you may prepare and submit to the county recorder’s
 office, a “Restrictive Covenant Modification” form (RCM) together with a copy of the attached document
 with the unlawfully restrictive covenant redacted. This request must be submitted to the county recorder’s
 office and must include your return address so the county recorder can notify you of the action taken by the
 county counsel.

 The process at the county recorder’s office is as follows:
     The county recorder takes the RCM with the redacted document and the original document
        attached and submits it to the county counsel for review to determine if, from a legal standpoint,
        the language was an unlawfully restrictive covenant and thus the redacted version should be
        indexed and recorded.
     The county counsel shall inform the county recorder of his/her determination within a reasonable
        amount of time, not to exceed three months from the date of your request.
     If county counsel determined that the redacted language was unlawful then, once recorded, the
        redacted document is the only one that effects the property and this modified document has the
        same effective date as the original document.
     If county counsel determined that the redacted language was not unlawful then county counsel will
        return the RCM package to the county recorder and the county recorder will advise the requestor
        that same the request has been denied and the redacted document has not been recorded.
     The modification document shall be indexed in the same manner as the original document and
        shall contain a recording reference to the original document.
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   RECORDING REQUESTED BY



   AND WHEN RECORDED MAIL TO


   NAME

   ADDRESS

   CITY
   STATE & ZIP

  TITLE ORDER NO.                                        ESCROW NO.                                     APN NO.

                    RESTRICTIVE COVENANT MODIFICATION
         (Unlawfully Restrictive Covenant Modification Pursuant to Government Code Section 12956.2)

    I(We)
 have or are acquiring an ownership interest of record in the property located at
                                                                                                that is covered by the
 document described below.

    The following reference document contains a restriction based on age, race, color, religion, sex, gender, gender
 identity, gender expression, sexual orientation, familial status, marital status, disability, veteran or military status,
 genetic information, national origin, source of income as defined in Section 12955 of the Government Code, or
 ancestry, that violates state and federal fair housing laws and is void. Pursuant to Section 12956.2 of the Government
 Code, this document is being recorded solely for the purpose of eliminating that restrictive covenant as shown on
 page(s)                              of the document recorded on _______________ in book                          and
 page _______ or instrument number                         of    the     official   records    of    the    County      of
 ______________________, State of California.
    Attached hereto is a true, correct and complete copy of the document referenced above, with the unlawful
 restrictive covenant redacted.
    This modification document shall be indexed in the same manner as the original document pursuant to subdivision
 (d) of Section 12956 of the Government.

    The effective date of the terms and conditions of the modification document shall be the same as the effective
 date of the original document.


     ___________________________________________                  _________________ County Counsel, or their
                     (Signature of Submitting Party)              designee, pursuant to Government Code Section
                                                                  12956.2, hereby states that it has been determined
     ___________________________________________                  that the original document referenced above
                            (Printed Name)                         _______ Does _______ Does Not contain an
                                                                  unlawful restriction and this modification may be
     ________________________________________                     recorded.
                     (Signature of Submitting Party)
                                                                  County Counsel
                                                                  By:
     ________________________________________                     ________________________________________
                            (Printed Name)
                                                                  Date:
                                                                  ________________________________________
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                                             EXHIBIT "A"
                                          LEGAL DESCRIPTION


 Order No.: 2045167
 Escrow No.: 2045167

 The land referred to herein is situated in the State of California, County of Riverside, City of Palm Springs
 and described as follows:

 A Condominium comprised of:

 Parcel 1:

 An undivided 1/42 interest in and to Lot 1 of Tract No. 9317, in the City of Palm Springs, County of
 Riverside, State of California, as shown by Map of file in Book 91, Pages 44 and 45, of Maps, Records of
 Riverside County, California.

 Excepting therefrom Units 1 to 42, as shown upon the Condominium Plan recorded July 20, 1977 as
 Instrument No. 137713 of Official Records of Riverside County, California.

 Parcel 2:

 Unit 32A, B, and C, as shown upon the Condominium Plan referred to in Parcel 1 above.

 Parcel 3:

 A non-exclusive easement for ingress and egress over that certain road shown as Whitewater Club Drive,
 which extends from the Westerly boundary of Tract No. 4362, as shown by Map on file in Book 70, Pages
 89 and 90, of Maps, Records of Riverside County, California, to Farroll Drive, in the City of Palm Springs.
 The easements described in that certain Easement Deed from Whitewater Country Club, a California
 corporation, to the City of Palm Springs, a municipal corporation, recorded on January 4, 1972 as
 Instrument No. 1061 of Official Records of Riverside County, California.

 APN: 501-500-033

 (End of Legal Description)
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   AFFILIATED BUSINESS ARRANGEMENT DISCLOSURE STATEMENT
 Date:       June 2, 2023

 File No.:   2045167

 Property:   2560 N Whitewater Club Drive, Unit B, Palm Springs, CA 92262

 From:       Stewart Title of California, Inc.


 This is to give you notice that Stewart Title of California, Inc. (“Stewart Title”) has a business relationship
 with Stewart Solutions, LLC, DBA – Stewart Specialty Insurance Services, LLC (“Stewart Insurance”).
 Stewart Information Services Corporation owns 100% of Stewart Insurance and Stewart Title of
 California, Inc.. Because of this relationship, this referral may provide Stewart Title a financial or other
 benefit.

 Set forth below is the estimated charge or range of charges for the settlement services listed. You are
 NOT required to use the listed provider(s) as a condition for purchase, sale, or refinance of the subject
 Property. THERE ARE FREQUENTLY OTHER SETTLEMENT SERVICE PROVIDERS AVAILABLE
 WITH SIMILAR SERVICES. YOU ARE FREE TO SHOP AROUND TO DETERMINE THAT YOU ARE
 RECEIVING THE BEST SERVICES AND THE BEST RATE FOR THESE SERVICES.


 Stewart Insurance Settlement Service                    Charge or range of charges
 Hazard Insurance                                        $400.00 to $6,500.00
 Home Warranty                                           $255.00 to $ 780.00
 Natural Hazard Disclosure Report                        $ 42.50 to $ 149.50




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              ACKNOWLEDGEMENT OF RECEIPT, UNDERSTANDING
            AND APPROVAL OF STEWART TITLE GUARANTY COMPANY
             PRIVACY NOTICE FOR STEWART TITLE COMPANIES AND
                    AFFILIATED BUSINESS ARRANGEMENT
                          DISCLOSURE STATEMENT

          The undersigned hereby acknowledge receipt of the Stewart Title Guaranty Company Privacy

 Notice for Stewart Title Companies and the Affiliated Business Arrangement Disclosure Statement that

 apply to this transaction. The undersigned further acknowledge that he/she/they have received, read,

 understand and accept these documents in connection with the above described transaction.

          The undersigned have received a copy of this acknowledgement as evidenced by the signature

 below.




 ______________________________________             ______________________________________
 Leslie Klein                                       Erika Klein




 ______________________________________
 Roll Sparrow LLC




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                                                           CALIFORNIA LAND TITLE ASSOCIATION
                                                        STANDARD COVERAGE POLICY – 1990 (11-09-18)

                                                                   EXCLUSIONS FROM COVERAGE

      The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys'
fees or expenses which arise by reason of:

1.     (a)    Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations)
              restricting, regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of
              any improvement now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land
              or any parcel of which the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances
              or governmental regulations, except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance
              resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.

       (b)    Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect,
              lien or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of
              Policy.

2.     Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding
       from coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without
       knowledge.

3.     Defects, liens, encumbrances, adverse claims or other matters:

       (a)    whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;

       (b)    not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in
              writing to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;

       (c)    resulting in no loss or damage to the insured claimant;

       (d)    attaching or created subsequent to Date of Policy; or

       (e)    resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for
              the estate or interest insured by this policy.

4.     Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure
       of any subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.

5.     Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
       mortgage and is based upon usury or any consumer credit protection or truth in lending law.

6.     Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
       interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.




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                                                    EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I

       This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason
of:
1.     Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
       property or by the public records.
       Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the
       records of such agency or by the public records.
2.     Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
       which may be asserted by persons in possession thereof.
3.     Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4.     Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and
       which are not shown by the public records.
5.     (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or
       title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6.     Any lien or right to a lien for services, labor or material unless such lien is shown by the public records at Date of Policy.

                                                    EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART II

                                        (Variable exceptions such as taxes, easements, CC&R’s, etc., are inserted here)]

                           CALIFORNIA LAND TITLE ASSOCIATION STANDARD COVERAGE OWNER’S POLICY (02-04-22)

                                                                   EXCLUSIONS FROM COVERAGE

      The following matters are excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys’ fees, or
expenses that arise by reason of:
1.    a.      any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) that restricts, regulates,
              prohibits, or relates to:
              i.      the occupancy, use, or enjoyment of the Land;
              ii.     the character, dimensions, or location of any improvement on the Land;
              iii.    the subdivision of land; or
              iv.     environmental remediation or protection.
      b.      any governmental forfeiture, police, regulatory, or national security power.
      c.      the effect of a violation or enforcement of any matter excluded under Exclusion 1.a. or 1.b.
      Exclusion 1 does not modify or limit the coverage provided under Covered Risk 5 or 6.
2.    Any power of eminent domain. Exclusion 2 does not modify or limit the coverage provided under Covered Risk 7.
3.    Any defect, lien, encumbrance, adverse claim, or other matter:
      a.      created, suffered, assumed, or agreed to by the Insured Claimant;
      b.      not Known to the Company, not recorded in the Public Records at the Date of Policy, but Known to the Insured Claimant and not
              disclosed in writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this
              policy;
      c.      resulting in no loss or damage to the Insured Claimant;
      d.      attaching or created subsequent to the Date of Policy (Exclusion 3.d. does not modify or limit the coverage provided under Covered
              Risk 9 or 10); or
      e.      resulting in loss or damage that would not have been sustained if consideration sufficient to qualify the Insured named in Schedule A
              as a bona fide purchaser had been given for the Title at the Date of Policy.
4.    Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights law, that the transaction vesting the
      Title as shown in Schedule A is a:
      a.      fraudulent conveyance or fraudulent transfer;
      b.      voidable transfer under the Uniform Voidable Transactions Act; or
      c.      preferential transfer:
              i.      to the extent the instrument of transfer vesting the Title as shown in Schedule A is not a transfer made as a contemporaneous
                      exchange for new value; or
              ii.     for any other reason not stated in Covered Risk 9.b.
5.    Any claim of a PACA-PSA Trust. Exclusion 5 does not modify or limit the coverage provided under Covered Risk 8.
6.    Any lien on the Title for real estate taxes or assessments imposed or collected by a governmental authority that becomes due and payable
      after the Date of Policy. Exclusion 6 does not modify or limit the coverage provided under Covered Risk 2.b.
7.    Any discrepancy in the quantity of the area, square footage, or acreage of the Land or of any improvement to the Land.

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                                                              EXCEPTIONS FROM COVERAGE
Some historical land records contain Discriminatory Covenants that are illegal and unenforceable by law. This policy treats any
Discriminatory Covenant in a document referenced in Schedule B as if each Discriminatory Covenant is redacted, repudiated, removed,
and not republished or recirculated. Only the remaining provisions of the document are excepted from coverage.
This policy does not insure against loss or damage and the Company will not pay costs, attorneys’ fees, or expenses resulting from the terms and
conditions of any lease or easement identified in Schedule A, and the following matters:
                                                                           PART I
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records at Date of Policy but that could be (a) ascertained by an inspection
of the Land, or (b) asserted by persons or parties in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records at Date of Policy.
4. Any encroachment, encumbrance, violation, variation, easement, or adverse circumstance affecting the Title that would be disclosed by an
accurate and complete land survey of the Land and not shown by the Public Records at Date of Policy.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title
to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor, material or equipment unless such lien is shown by the Public Records at Date of Policy.
7. Any claim to (a) ownership of or rights to minerals and similar substances, including but not limited to ores, metals, coal, lignite, oil, gas, uranium,
clay, rock, sand, and gravel located in, on, or under the Land or produced from the Land, whether such ownership or rights arise by lease, grant,
exception, conveyance, reservation, or otherwise; and (b) any rights, privileges, immunities, rights of way, and easements associated therewith or
appurtenant thereto, whether or not the interests or rights excepted in (a) or (b) appear in the Public Records or are shown in Schedule B.

                                                                            PART II
                                        (Variable exceptions such as taxes, easements, CC&R’s, etc., are inserted here)


                                         CLTA/ALTA HOMEOWNER’S POLICY OF TITLE INSURANCE (07-01-2021)

                                                                   EXCLUSIONS FROM COVERAGE

The following matters are excluded from the coverage of this policy and We will not pay loss or damage, costs, attorneys' fees, or expenses that
arise by reason of:

1.      a.     any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) that restricts, regulates,
               prohibits, or relates to:
               i.      the occupancy, use, or enjoyment of the Land;
               ii.     the character, dimensions, or location of any improvement on the Land;
               iii.    the subdivision of land; or
               iv.     environmental remediation or protection.
        b.     any governmental forfeiture, police, or regulatory, or national security power.
        c.     the effect of a violation or enforcement of any matter excluded under Exclusion 1.a. or 1.b.
        Exclusion 1 does not modify or limit the coverage provided under Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23, or 27.

2.      Any power to take the Land by condemnation. Exclusion 2 does not modify or limit the coverage provided under Covered Risk 17.

3.      Any defect, lien, encumbrance, adverse claim, or other matter:
        a.     created, suffered, assumed, or agreed to by You;
        b.     not Known to Us, not recorded in the Public Records at the Date of Policy, but Known to You and not disclosed in writing to Us by You
               prior to the date You became an Insured under this policy;
        c.     resulting in no loss or damage to You;
        d.     attaching or created subsequent to the Date of Policy (Exclusion 3.d. does not modify or limit the coverage provided under Covered
               Risk 5, 8.f., 25, 26, 27, 28, or 32); or
        e.     resulting in loss or damage that would not have been sustained if You paid consideration sufficient to qualify You as a bona fide
               purchaser of the Title at the Date of Policy.
4.      Lack of a right:
        a.     to any land outside the area specifically described and referred to in Item 3 of Schedule A; and
        b.     in any street, road, avenue, alley, lane, right-of-way, body of water, or waterway that abut the Land.
        Exclusion 4 does not modify or limit the coverage provided under Covered Risk 11 or 21.

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5.      The failure of Your existing structures, or any portion of Your existing structures, to have been constructed before, on, or after the Date of
        Policy in accordance with applicable building codes. Exclusion 5 does not modify or limit the coverage provided under Covered Risk 14 or 15.

6.      Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights law, that the transfer of the Title to
        You is a:
        a.     fraudulent conveyance or fraudulent transfer;
        b.     voidable transfer under the Uniform Voidable Transactions Act; or
        c.     preferential transfer:
               i.      to the extent the instrument of transfer vesting the Title as shown in Schedule A is not a transfer made as a contemporaneous
                       exchange for new value; or
               ii.     for any other reason not stated in Covered Risk 30.

7.      Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.

8.      Negligence by a person or an entity exercising a right to extract or develop oil, gas, minerals, groundwater, or any other subsurface
        substance.

9.      Any lien on Your Title for real estate taxes or assessments imposed or collected by a governmental authority that becomes due and payable
        after the Date of Policy. Exclusion 9 does not modify or limit the coverage provided under Covered Risk 8.a. or 27.

10.     Any discrepancy in the quantity of the area, square footage, or acreage of the Land or of any improvement to the Land.

                                                                      LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
           For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                        Our Maximum Dollar
                                      Your Deductible Amount                                            Limit of Liability

Covered Risk 16:                                      % of Policy Amount Shown in Schedule A or $______                         $ _____
                                                      (whichever is less)

Covered Risk 18:                                      % of Policy Amount Shown in Schedule A or $______                         $ _____
                                                      (whichever is less)

Covered Risk 19:                                      % of Policy Amount Shown in Schedule A or $______                         $ _____
                                                      (whichever is less)

Covered Risk 21:                                      % of Policy Amount Shown in Schedule A or $______                         $ _____
                                                      (whichever is less)




                                           CLTA/ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)


                                                                   EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f. environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.

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2.   The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does
     not limit the coverage described in Covered Risk 14 or 15.
3.   The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4.   Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;
     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.


                                                                      LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
             For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                                Our Maximum Dollar
                                              Your Deductible Amount                                                            Limit of Liability

Covered Risk 16:                                      % of Policy Amount Shown in Schedule A or $______                         $ _____
                                                                (whichever is less)

Covered Risk 18:                                      % of Policy Amount Shown in Schedule A or $______                         $ _____
                                                                (whichever is less)

Covered Risk 19:                                      % of Policy Amount Shown in Schedule A or $______                         $ _____
                                                                (whichever is less)

Covered Risk 21:                                      % of Policy Amount Shown in Schedule A or $______                         $ _____
                                                                (whichever is less)




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                                                            ALTA OWNER’S POLICY (07-01-2021)
                                                               EXCLUSIONS FROM COVERAGE
 The following matters are excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys’ fees, or expenses that arise by reason
       of:
1.      a.     any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) that restricts,
               regulates, prohibits, or relates to:
               i.       the occupancy, use, or enjoyment of the Land;
               ii.      the character, dimensions, or location of any improvement on the Land;
               iii.     the subdivision of land; or
               iv.      environmental remediation or protection.
        b.     any governmental forfeiture, police, regulatory, or national security power.
        c.     the effect of a violation or enforcement of any matter excluded under Exclusion 1.a. or 1.b.
        Exclusion 1 does not modify or limit the coverage provided under Covered Risk 5 or 6.
2.      Any power of eminent domain. Exclusion 2 does not modify or limit the coverage provided under Covered Risk 7.
3.      Any defect, lien, encumbrance, adverse claim, or other matter:
        a.     created, suffered, assumed, or agreed to by the Insured Claimant;
        b.     not Known to the Company, not recorded in the Public Records at the Date of Policy, but Known to the Insured Claimant
               and not disclosed in writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an
               Insured under this policy;
        c.     resulting in no loss or damage to the Insured Claimant;
        d.     attaching or created subsequent to the Date of Policy (Exclusion 3.d. does not modify or limit the coverage provided under
               Covered Risk 9 or 10); or
        e.     resulting in loss or damage that would not have been sustained if consideration sufficient to qualify the Insured named in
               Schedule A as a bona fide purchaser had been given for the Title at the Date of Policy.
4.      Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights law, that the transaction
        vesting the Title as shown in Schedule A is a:
        a.     fraudulent conveyance or fraudulent transfer;
        b.     voidable transfer under the Uniform Voidable Transactions Act; or
        c.     preferential transfer:
               i.       to the extent the instrument of transfer vesting the Title as shown in Schedule A is not a transfer made as a
                        contemporaneous exchange for new value; or
               ii.      for any other reason not stated in Covered Risk 9.b.
5.      Any claim of a PACA-PSA Trust. Exclusion 5 does not modify or limit the coverage provided under Covered Risk 8.
6.      Any lien on the Title for real estate taxes or assessments imposed or collected by a governmental authority that becomes due and
        payable after the Date of Policy. Exclusion 6 does not modify or limit the coverage provided under Covered Risk 2.b.
7.      Any discrepancy in the quantity of the area, square footage, or acreage of the Land or of any improvement to the Land.

                                                               EXCEPTIONS FROM COVERAGE

Some historical land records contain Discriminatory Covenants that are illegal and unenforceable by law. This policy treats any
Discriminatory Covenant in a document referenced in Schedule B as if each Discriminatory Covenant is redacted, repudiated,
removed, and not republished or recirculated. Only the remaining provisions of the document are excepted from coverage.

This policy does not insure against loss or damage and the Company will not pay costs, attorneys’ fees, or expenses resulting from the
terms and conditions of any lease or easement identified in Schedule A, and the following matters:

NOTE: The 2021 ALTA Owner’s Policy may be issued to afford either Standard Coverage or Extended Coverage. In addition to variable
exceptions such as taxes, easements, CC&R’s, etc., the Exceptions from Coverage in a Standard Coverage policy will also include the
Western Regional Standard Coverage Exceptions listed as 1 through 7 below:

1.      (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or
        assessments on real property or by the Public Records; (b) proceedings by a public agency that may result in taxes or
        assessments, or notices of such proceedings, whether or not shown by the records of such agency or by the Public Records.
2.      Any facts, rights, interests, or claims that are not shown by the Public Records at Date of Policy but that could be (a) ascertained by
        an inspection of the Land or (b) asserted by persons or parties in possession of the Land.
3.      Easements, liens or encumbrances, or claims thereof, not shown by the Public Records at Date of Policy.
4.      Any encroachment, encumbrance, violation, variation, easement, or adverse circumstance affecting the Title that would be
        disclosed by an accurate and complete land survey of the Land and not shown by the Public Records at Date of Policy.

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5.     (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights,
       claims or title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6.     Any lien or right to a lien for services, labor, material or equipment unless such lien is shown by the Public Records at Date of Policy.
7.     Any claim to (a) ownership of or rights to minerals and similar substances, including but not limited to ores, metals, coal, lignite, oil,
       gas, uranium, clay, rock, sand, and gravel located in, on, or under the Land or produced from the Land, whether such ownership or
       rights arise by lease, grant, exception, conveyance, reservation, or otherwise; and (b) any rights, privileges, immunities, rights of
       way, and easements associated therewith or appurtenant thereto, whether or not the interests or rights excepted in (a) or (b) appear
       in the Public Records or are shown in Schedule B.
                                                          2006 ALTA OWNER’S POLICY (06-17-06)
                                                              EXCLUSIONS FROM COVERAGE
 The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or expenses that arise
       by reason of:
1.     (a)    Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating,
              prohibiting, or relating to
              (i)     the occupancy, use, or enjoyment of the Land;
              (ii) the character, dimensions, or location of any improvement erected on the Land;
              (iii) the subdivision of land; or
              (iv) environmental protection;
              or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or
              limit the coverage provided under Covered Risk 5.
       (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2.     Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.     Defects, liens, encumbrances, adverse claims, or other matters
       (a) created, suffered, assumed, or agreed to by the Insured Claimant;
       (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not
              disclosed in writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under
              this policy;
       (c) resulting in no loss or damage to the Insured Claimant;
       (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under
              Covered Risk 9 and 10); or
       (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4.     Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction
       vesting the Title as shown in Schedule A, is
       (a) a fraudulent conveyance or fraudulent transfer; or
       (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5.     Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date
       of Policy and the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in
       Schedule A.
                                                               EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
NOTE: The 2006 ALTA Owner’s Policy may be issued to afford either Standard Coverage or Extended Coverage. In addition to variable
exceptions such as taxes, easements, CC&R’s, etc., the Exceptions from Coverage in a Standard Coverage policy will also include the
Western Regional Standard Coverage Exceptions listed below as 1 through 7 below:
     1.     (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or
            assessments on real property or by the Public Records; (b) proceedings by a public agency that may result in taxes or
            assessments, or notices of such proceedings, whether or not shown by the records of such agency or by the Public Records.
     2.     Any facts, rights, interests, or claims that are not shown by the Public Records at Date of Policy but that could be (a)
            ascertained by an inspection of the Land, or (b) asserted by persons or parties in possession of the Land.
     3.     Easements, liens or encumbrances, or claims thereof, not shown by the Public Records at Date of Policy.
     4.     Any encroachment, encumbrance, violation, variation, easement, or adverse circumstance affecting the Title that would be
            disclosed by an accurate and complete land survey of the Land and not shown by the Public Records at Date of Policy.
     5.     (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water
            rights, claims or title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
     6.     Any lien or right to a lien for services, labor, material or equipment unless such lien is shown by the Public Records at Date of
            Policy.
     7.      Any claim to (a) ownership of or rights to minerals and similar substances, including but not limited to ores, metals, coal,
            lignite, oil, gas, uranium, clay, rock, sand, and gravel located in, on, or under the Land or produced from the Land, whether
            such ownership or rights arise by lease, grant, exception, conveyance, reservation, or otherwise; and (b) any rights, privileges,
            immunities, rights of way, and easements associated therewith or appurtenant thereto, whether or not the interests or rights
            excepted in (a) or (b) appear in the Public Records or are shown in Schedule B.

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 File No.: 2045167



                AVAILABLE DISCOUNTS DISCLOSURE STATEMENT

 This is to give you notice that Stewart Title of California, Inc. (“Stewart Title”) is pleased to inform you that
 upon proper qualification, there are premium discounts available upon the purchase of title insurance
 covering improved property with a one to four family residential dwelling.

 Such discounts apply to and include:

 Property located within an area proclaimed a state or federal disaster area;

 Property purchased from a foreclosing beneficiary or successful bidder at a foreclosure sale;

 Property being refinanced.

 Please talk with your escrow or title officer to determine your qualification for any of these discounts.




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                                                                                                                                                                  Stewart Title of California, Inc.
                                                                                                                                                                 STATEMENT OF INFORMATION
                                                    CONFIDENTIAL
_____________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________



THE STREET ADDRESS of the property in this transaction is: (IF NONE LEAVE BLANK)
ADDRESS 2560 N Whitewater Club Drive, Unit B                                                                                                                                                                                                                   CITY Palm Springs, CA 92262
IMPROVEMENTS: ☐ SINGLE RESIDENCE    ☐ MULTIPLE RESIDENCE  ☐ COMMERCIAL
OCCUPIED BY: ☐ OWNER      ☐ TENANTS
CONSTRUCTION OR IMPROVEMENTS WITHIN THE LAST 6 MONTHS? ☐ YES  ☐ NO
IF YES, STATE NATURE WORK DONE

                                                                                                        PARTY 1                                                                                                                                                                                                                                            PARTY 2

FIRST                                                                         MIDDLE                                                                             LAST                                                                                     FIRST                                                                         MIDDLE                                                                             LAST



FORMER LAST NAME(S), IF ANY                                                                                                                                                                                                                               FORMER LAST NAME(S), IF ANY


BIRTHPLACE                                                                                                                BIRTH DATE                                                                                                                       BIRTHPLACE                                                                                                                BIRTH DATE



Social Security No.                                                                                                       DRIVER'S LICENSE NO.                                                                                                             Social Security No.                                                                                                       DRIVER'S LICENSE NO.



Home                                                                                                                 Cell                                                                                                                                  Home                                                                 Cell
 ☐ AM SINGLE                                            ☐ AM MARRIED                                                ☐ HAVE A DOMESTIC PARTNER                                                                                                               ☐ AM SINGLE                                          ☐ AM MARRIED ☐ HAVE A DOMESTIC PARTNER

Date of Marriage or Partnership                                                                                                                                                                                                                           Date of Marriage or Partnership

NAME OF CURRENT SPOUSE OR DOM. PARTNER (if other than Party 2):                                                                                                                                                                                           NAME OF CURRENT SPOUSE OR DOM. PARTNER (if other than Party 1):




NAME OF FORMER SPOUSE/DOM. PARTNER: (IF NONE, WRITE “NONE”):                                                                                                                                                                                              NAME OF FORMER SPOUSE/DOM. PARTNER: (IF NONE, WRITE “NONE”):




Dissolutions pending                           Yes        No                                                                                                                                      (circle one)                                            Dissolutions pending                           Yes        No                                                                                                                                       (circle one)
Required to make child support payments?       Yes        No                                                                                                                                      (circle one)                                            Required to make child support payments?       Yes        No                                                                                                                                       (circle one)
Required to make Family support payments? Yes             No                                                                                                                                      (circle one)                                            Required to make Family support payments? Yes             No                                                                                                                                       (circle one)
If paying former spouse directly, please provide address:                                                                                                                                                                                                 If paying former spouse directly, please provide address:




                                                                      OCCUPATIONS FOR LAST 10 YEARS (attach additional 10 year information, if applicable)
Party 1:
                                                                            Occupation                                                                                                       Firm Name                                                                                                  Street and City                                                                                                        No. Years
Party 2:
                                                                            Occupation                                                                                                       Firm Name                                                                                                  Street and City                                                                                                        No. Years

                                                                          RESIDENCES FOR LAST 10 YEARS (attach additional 10 year information, if applicable)
Party 1:
                                                                             Street No.                                                                                                   Street Name                                                                                                                  City                                                                                                    No. Years
Party 2:
                                                                             Street No.                                                                                                   Street Name                                                                                                                  City                                                                                                    No. Years

                                                                                                                                                                                                                         Email Address

If you would like us to contact you by email, please provide your email address

Home Phone:                                                                                                                                                      Business Phone:                                                                                                                                                           Cell Phone:

The undersigned declare, under penalty of perjury, that foregoing is true and correct.

Signature:                                                                                                                                                Date:                                                                                          Signature:                                                                                                                                                Date:


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Rev. 4/09
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                     STGC TITLE PREMIUM DISCOUNT APPLICATION
                         AND CONFIRMATION OF ELIGIBILITY

 Order Number: 2045167

 Property: 2560 N Whitewater Club Drive, Unit B, Palm Springs, CA 92262

 APN: 501-500-033

 In connection with the request of the Undersigned (“Applicant”) for the preparation and issuance of title
 insurance, Applicant provides this completed STGC Title Premium Discount Application and Confirmation
 of Eligibility (“Request Form”) for the benefit of, and reliance by, title insurer Stewart Title Guaranty
 Company, and its policy issuing agent Stewart Title of California, Inc. (collectively hereafter referred to as
 “Stewart Title”) in connection with pricing the title premium in the above referenced transaction:

 1. Applicant understands that Stewart Title has available for qualifying requestors a 10% discount on the
    title insurance premium charged under certain circumstances; however, all endorsement fees and
    other charges are not discounted.
 2. Applicant understands that Stewart Title is only able to provide such discount if requested through
    providing this completed Request Form and is received by Stewart Title at least five (5) business
    days prior to recording of the transaction to which a discount is requested.
 3. Applicant understands that Stewart Title prohibits combined discounts; accordingly, Stewart Title will
    provide this requested discount and disregard other applicable discounts, if any, when eligibility
    requirements for such discount are satisfied.
 4. Applicant requests the following discount and affirms that Applicant meets the criteria and
    requirements set forth to qualify for such selected discount (SELECT ONLY ONE QUALIFYING
    DISCOUNT):

     ☐      Active military personnel and honorably discharged veteran discount* – To qualify for an active
            military personnel or honorably discharged veteran discount: (1) the property being purchased,
            mortgaged or refinanced is a fee simple interest in a primary, owner-occupied residence; and
            (2) at least one of the undersigned purchaser(s), seller(s) or borrower(s), as applicable, is a
            U.S. citizen, permanent resident or qualified alien and is engaged in full-time, active duty in the
            military on the date signed below or was a honorably discharged veteran.

     ☐      Senior citizen discount – To qualify for a senior citizen discount: (1) the property being
            purchased, mortgaged or refinanced is a fee simple interest in a primary, owner-occupied
            residence; and (2) at least one of the undersigned purchaser(s), seller(s) or borrower(s), as
            applicable, is a U.S. citizen, permanent resident or qualified alien and is 55 years of age or
            older on the date signed below.




 *Active military personnel and honorably discharged veterans include those members from the following U.S. military
 services branches: Air Force, Army, Coast Guard, Marine Corps, Navy and Space Force, and any active Reserve
 members of these military services branches and any active members of the Air or Army National Guard.

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     ☐      First-time homebuyer discount – To qualify for a first-time homebuyer discount: (1) the property
            being purchased is a fee simple interest in a primary, owner-occupied residence; and (2) at
            least one of the undersigned purchaser(s) is a U.S. citizen, permanent resident or qualified
            alien and has either never owned any property or, has not been an owner in a primary
            residence for the last three calendar years from the date signed below.

     ☐      First responder discount – To qualify for a first responder discount: (1) the property being
            purchased, mortgaged or refinanced is a fee simple interest in a primary, owner-occupied
            residence; and (2) at least one of the undersigned purchaser(s), seller(s) or borrower(s), as
            applicable, is a U.S. citizen, permanent resident or qualified alien and is currently employed as
            a police officer, firefighter, paramedic or emergency medical technician on the date signed
            below.


 This Request Form is completed under penalty of perjury and is made for the purpose of inducing Stewart
 Title to provide the title premium discount, and the representations contained herein are material to such
 insurance coverage pricing. The undersigned hereby indemnifies and holds Stewart Title harmless from
 any loss or damage, liability, costs, expenses and attorneys’ fees which it may sustain to the extent any
 representation contained herein is incorrect. The undersigned understands that Stewart Title may decide
 not to provide the requested title insurance despite the information and affirmations contained herein.

 PLEASE READ AND COMPLETE THE STGC TITLE PREMIUM DISCOUNT REQUEST FORM ON THE
 PREVIOUS PAGE BEFORE SIGNING BELOW. IF YOU DO NOT UNDERSTAND OR HAVE ANY
 QUESTIONS ABOUT THIS AFFIDAVIT, YOU SHOULD CONTACT YOUR LOCAL STEWART TITLE
 PROFESSIONAL.

 THE UNDERSIGNED DECLARES UNDER PENALTY OF PERJURY THAT THE ABOVE
 INFORMATION IS TRUE AND CORRECT.


 ________________________________________               ________________________________________
 Signature                                              Signature


 ________________________________________               ________________________________________
 Printed Name                                           Printed Name


 ________________________________________               ________________________________________
 Date Signed                                            Date Signed




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                                OWNER'S AFFIDAVIT AND INDEMNITY
Order No.: 2045167
Address/Location: 2560 N Whitewater Club Drive, Unit B, Palm Springs, CA 92262
APN: 501-500-033

In connection with the request of the Undersigned (“Affiant”) for the preparation and issuance of insurance, Affiant
makes the following statements and representations for the benefit of, and reliance by, title insurer STEWART
TITLE GUARANTY COMPANY, and its policy issuing agent STEWART TITLE OF CALIFORNIA, INC.
(collectively hereafter referred to as "TITLE"):

    1. Affiant owns and holds title to the land described in Schedule A of the Preliminary Report or Commitment
       issued in connection with the above referenced Order Number (the “Land”).

    2. The Affiant's ownership and/or possession of the Land has been peaceful and undisturbed, and title
       thereto has never been disputed, questioned or rejected, nor has the issuance of title insurance ever
       been refused, except as follows: (If none, please state “none”)
       _________________________________________________________________________________

    3. Other than the Affiant, there are no parties entitled to possession of the Land other than the following: (If
       none, please state “none”)
       _________________________________________________________________________________

    4. There are no leases, licenses, options, rights of first refusal, or contracts to sell, affecting the Land, or any
       parties currently in possession, of the Land, except the following: (If none, please state “none”)
       _________________________________________________________________________________

    5. All assessments by a management company or owners’ association, or for common area or building
       maintenance, if any, are paid current or are not yet due and payable except for the following. (If none,
       please state “none”)
       _________________________________________________________________________________

    6. There are no pending contemplated repairs/improvements to the Land, except the following: (If none,
       please state “none)
       _________________________________________________________________________________

    7. There has been no construction, building materials, repairs, improvements, or remodeling performed,
       provided, furnished or delivered within the last 12 months, except as follows: (If none, please state “none”)
       _________________________________________________________________________________
         This work performed, as detailed above, was completed on ________________________ (date of completion).

    8. Affiant is not aware of the existence of any of the following:
              a.   Improvements, including fences, encroaching into any easements on the Land, or over any boundary
                   lines of the Land.
              b.   Adjoining property improvements encroaching onto the Land.
              c.   Liens against the Land and/or judgments or tax liens against Affiant or any other property owner
                   currently in title, except those described in the Preliminary Report or Commitment issued in connection
                   with the above referenced Order Number.
              d.   Outstanding claims or persons entitled to claims for mechanics' or materialman liens against the Land.
              e.   Pending repairs/improvements to any adjacent street(s) or any assessments related to road
                   maintenance
              f.   Any pending litigation involving the Land, the Affiant or any other property owner currently in title.
              g.   Recent improvements completed or being made to any common area(s) located within the subdivision
                   in which the Land is located.
              h.   Violations of building permits, zoning laws or recorded covenants, conditions and/or restrictions
                   imposed on the Land.
              i.   Any pending assessments for Community Facility Districts.
              j.   Any new, pending or existing obligation or loan including any home improvements on the Land
                   pursuant to the PACE or HERO program, or any other similar type program.

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Owners Affidavit and Indemnity CA                                                                                Rev. 9/2021
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              k.   Any unrecorded or recorded easements, covenants, conditions, or restrictions affecting the Land, other than
                   those listed in the Preliminary Report or Title Commitment.
              l.   Any use of the property for the production, sale, warehousing or transporting of fresh fruits, vegetables,
                   livestock or poultry (e.g., supermarkets, restaurants, wineries, breweries and meat packing plants).

              With regard to 8a.-8l, except as follows: (If none, please state “none”)
              _______________________________________________________________________________

    9. No proceedings in bankruptcy or receivership have been instituted or filed by, or against, the Affiant or
       any other property owner currently in title.

    10. There are no unpaid taxes, assessments or utility type bills including but not limited to bills for water,
        sewer, hazardous waste, recycling, storm drain and/or rubbish and there are no liens related to such
        utilities from or on the Land, with the exception of the following: (If none, please state “none”)
        _________________________________________________________________________________

    11. There are no financial obligations secured by trust deeds, mortgages, financing statements, vendor’s
        liens, security agreements or otherwise, against the Land, except as set forth in the Preliminary Report,
        proforma and/or Commitment, and as set forth below: (If none, please state “none”)

                                Creditor                                           Approximate Balance




    12. There has been no harvesting or production of any oil, gas, geothermal materials or other minerals from
        or on the Land and there are no oil, gas, geothermal and/or mineral leases, licenses, options, rights of
        first refusal, and/or contracts to sell, affecting the mineral rights associated with the Land, or other parties
        currently in possession, of the mineral rights on the Land, except the following: (If none, please state
        “none”)
        _________________________________________________________________________________

    13. Other than the Affiant, there are no other parties currently in possession of the Land, including but not
        limited to, any possessory interest associated with the harvesting of any oil, gas, geothermal materials or
        other minerals, except the following: (If none, please state “none”)
        _________________________________________________________________________________

    14. Affiant has not executed and will not execute any documents or instruments related to the title to, or
        interest in, the Land prior to the recordation of the documents in this transaction.

    15. By signing below, Affiant agrees to cooperate with TITLE and, upon request from TITLE, to promptly
        provide and/or execute, any corrective or curative information or documentation requested.

This is a sworn affidavit and is made for the purpose of inducing TITLE to provide certain insurance coverage to a
purchaser and/or lender, and the representations contained herein are material to such insurance coverage. The
undersigned hereby indemnifies and holds Stewart Title Guaranty Company and its policy issuing agent identified
above harmless from any loss or damage, liability, costs, expenses and attorneys’ fees which it may sustain
under its policies of title insurance or commitments to the extent any representation contained herein is incorrect.
The undersigned understands that TITLE may decide not to provide the requested title insurance despite the
information and affirmations contained herein.

PLEASE READ, COMPLETE AND RESPOND TO ALL STATEMENTS CONTAINED IN THIS OWNER’S
AFFIDAVIT AND INDEMNITY BEFORE SIGNING IN THE PRESENCE OF A NOTARY PUBLIC. THE NOTARY
PUBLIC WILL EXECUTE THE ACKNOWLEDGMENT ON THE FOLLOWING PAGE. HOWEVER, IF YOU DO
NOT UNDERSTAND OR HAVE ANY QUESTIONS ABOUT THIS AFFIDAVIT, YOU SHOULD SEEK THE
ASSISTANCE OF YOUR INDEPENDENT FINANCIAL AND/OR LEGAL ADVISOR BEFORE SIGNING.

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Owners Affidavit and Indemnity CA                                                                                   Rev. 9/2021
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______________________________________                            ______________________________________
Leslie Klein                                                      Erika Klein




 A notary public or other officer completing this certificate verifies only the identity of the individual who signed the document
 to which this certificate is attached and not the truthfulness, accuracy, or validity of that document.


State of California      )
                         ) ss.
County of ______________ )

Subscribed and sworn to (or affirmed) before me on this _______ day of ______________________, 20____, by
____________________________________________________________________________, proved to me on
the basis of satisfactory evidence to be the person(s) who appeared before me.


___________________________________________
Notary Signature




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Owners Affidavit and Indemnity CA                                                                                         Rev. 9/2021
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                                    STEWART TITLE GUARANTY COMPANY
                                              PRIVACY NOTICE

This Stewart Title Guaranty Company Privacy Notice (“Notice”) explains how Stewart Title Guaranty Company and its
subsidiary title insurance companies (collectively, “Stewart”) collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of your information. Pursuant
to Title V of the Gramm-Leach Bliley Act (“GLBA”) and other Federal and state laws and regulations applicable to financial
institutions, consumers have the right to limit some, but not all sharing of their personal information. Please read this
Notice carefully to understand how Stewart uses your personal information.

The types of personal information Stewart collects, and shares depends on the product or service you have requested.

Stewart may collect the following categories of personal and financial information from you throughout your
transaction:

    1. Identifiers: Real name, alias, online IP address if accessing company websites, email address, account name,
       unique online identifier, social security number, driver’s license number, passport number, or other similar
       identifiers;

    2. Demographic Information: Marital status, gender, date of birth.

    3. Personal Information and Personal Financial Information: Name, signature, social security number, physical
       characteristics or description, address, telephone number, insurance policy number, education, employment,
       employment history, bank account number, credit card number, debit card number, credit reports, or any other
       information necessary to complete the transaction.

Stewart may collect personal information about you from:

    1. Publicly available information from government records.
    2. Information we receive directly from you or your agent(s), such as your lender or real estate broker;
    3. Information about your transactions with Stewart, our affiliates, or others; and
    4. Information we receive from consumer reporting agencies and/or governmental entities, either directly from these
       entities or through others.
Stewart may use your personal information for the following purposes:

    1. To provide products and services to you or in connection with a transaction.
    2. To improve our products and services.
    3. To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

Stewart may use or disclose the personal information we collect for one or more of the following purposes:

         To fulfill or meet the reason for which the information is provided.
         To provide, support, personalize, and develop our website, products, and services.
         To create, maintain, customize, and secure your account with Stewart.
         To process your requests, purchases, transactions, and payments and prevent transactional fraud.
         To prevent and/or process claims.
         To assist third party vendors/service providers who complete transactions or perform services on Stewart’s
          behalf pursuant to valid service provider agreements.
         As necessary or appropriate to protect the rights, property or safety of Stewart, our customers or others.
         To provide you with support and to respond to your inquiries, including to investigate and address your concerns
          and monitor and improve our responses.
         To help maintain the safety, security, and integrity of our website, products and services, databases and other
          technology-based assets, and business.
         To respond to law enforcement or regulator requests as required by applicable law, court order, or governmental
          regulations.
         Auditing for compliance with federal and state laws, rules and regulations.


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        Performing services including maintaining or servicing accounts, providing customer service, processing or
         fulfilling orders and transactions, verifying customer information, processing payments.
        To evaluate or conduct a merger, divestiture, restructuring, reorganization, dissolution, or other sale or transfer of
         some or all of our assets, whether as a going concern or as part of bankruptcy, liquidation, or similar proceeding,
         in which personal information held by us is among the assets transferred.

    Stewart will not collect additional categories of personal information or use the personal information we collected for
    materially different, unrelated, or incompatible purposes without providing you notice.

    Disclosure of Personal Information to Affiliated Companies and Nonaffiliated Third Parties

    Stewart does not sell your personal information to nonaffiliated third parties. Stewart may share your information
    with those you have designated as your agent throughout the course of your transaction (for example, a realtor,
    broker, or a lender). Stewart may disclose your personal information to a non-affiliated third party for a business
    purpose. Typically, when we disclose personal information for a business purpose, we enter in a contract that
    describes the purpose and requires the recipient to both keep that personal information confidential and not use it for
    any purpose except performing the contract.

    We share your personal information with the following categories of third parties:

        Non-affiliated service providers and vendors we contract with to render specific services (For example, search
         companies, mobile notaries, and companies providing credit/debit card processing, billing, shipping, repair,
         customer service, auditing, marketing, etc.)
    To enable Stewart to prevent criminal activity, fraud, material misrepresentation, or nondisclosure.
    Stewart’s affiliated and subsidiary companies.
    Non-affiliated third-party service providers with whom we perform joint marketing, pursuant to an agreement with
         them to jointly market financial products or services to you.
    Parties involved in litigation and attorneys, as required by law.
    Financial rating organizations, rating bureaus and trade associations.
    Federal and State Regulators, law enforcement and other government entities to law enforcement or authorities
         in connection with an investigation, or in response to a subpoena or court order.
The law does not require your prior authorization or consent and does not allow you to restrict the disclosures described
above. Additionally, we may disclose your information to third parties for whom you have given us authorization or
consent to make such disclosure. We do not otherwise share your Personal Information or Browsing Information with
non-affiliated third parties, except as required or permitted by law.

Right to Limit Use of Your Personal Information
You have the right to opt-out of sharing of your personal information among our affiliates to directly market to you. To
opt-out of sharing to our affiliates for direct marketing, you may send an “opt out” request to Privacyrequest@stewart.com,
or contact us through other available methods provided under “Contact Information” in this Notice. We do not share your
Personal Information with nonaffiliates for their use to direct market to you without your consent.

How Stewart Protects Your Personal Information

Stewart maintains physical, technical and administrative safeguards and policies to protect your personal information.

Contact Information
If you have questions or comments about this Notice, the ways in which Stewart collects and uses your information described herein,
your choices and rights regarding such use, or wish to exercise your rights under law, please do not hesitate to contact us at:
Phone:                    Toll Free at 1-866-571-9270
Email:                    Privacyrequest@stewart.com
Postal Address:            Stewart Information Services Corporation
                           Attn: Mary Thomas, Chief Compliance and Regulatory Officer
                           1360 Post Oak Blvd., Ste. 100, MC #14-1
                           Houston, TX 77056



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                                                                                              Effective Date: January 1, 2020
                                                                                                   Updated: January 1, 2023

                                   Privacy Notice at Collection for California Residents

Pursuant to the California Consumer Privacy Act of 2018 (“CCPA”) and the California Privacy Rights Act of 2020, effective
January 1, 2023 (“CPRA”), Stewart Information Services Corporation and its subsidiary companies (collectively, “Stewart”)
are providing this Privacy Notice at Collection for California Residents (“CCPA & CPRA Notice”). This CCPA & CPRA
Notice supplements the information contained in Stewart’s existing privacy notice and applies solely to all visitors, users,
and consumers and others who reside in the State of California or are considered California Residents as defined in the
CCPA & CPRA (“consumers” or “you”). All terms defined in the CCPA & CPRA have the same meaning when used in this
Notice.

Personal and Sensitive Personal Information Stewart Collects

        Publicly available information from government records.
        Deidentified or aggregated consumer information.
        Certain personal information protected by other sector-specific federal or California laws, including but not limited
         to the Fair Credit Reporting Act (FCRA), Gramm Leach Bliley Act (GLBA) and California Financial Information
         Privacy Act (FIPA).

Specifically, Stewart has collected the following categories of personal and sensitive personal information from
consumers within the last twelve (12) months:

Category                           Examples                                                                      Collected

                                   A real name, alias, postal address, unique personal identifier, online
                                   identifier, Internet Protocol address, email address, account name, Social
A. Identifiers.                                                                                               YES
                                   Security number, driver's license number, passport number, or other
                                   similar identifiers.

                                    A name, signature, Social Security number, physical characteristics or
                                    description, address, telephone number, passport number, driver's
B. Personal information
                                    license or state identification card number, insurance policy number,
categories listed in the California
                                    education, employment, employment history, bank account number,            YES
Customer Records statute (Cal.
                                    credit card number, debit card number, or any other financial information,
Civ. Code § 1798.80(e)).
                                    medical information, or health insurance information. Some personal
                                    information included in this category may overlap with other categories.

                                   Age (40 years or older), race, color, ancestry, national origin, citizenship,
                                   religion or creed, marital status, medical condition, physical or mental
C. Protected classification
                                   disability, sex (including gender, gender identity, gender expression,
characteristics under California                                                                                 YES
                                   pregnancy or childbirth and related medical conditions), sexual
or federal law.
                                   orientation, veteran or military status, genetic information (including
                                   familial genetic information).

                                   Records of personal property, products or services purchased, obtained,
D. Commercial information.                                                                                  YES
                                   or considered, or other purchasing or consuming histories or tendencies.

                                   Genetic, physiological, behavioral, and biological characteristics, or
                                   activity patterns used to extract a template or other identifier or identifying
E. Biometric information.          information, such as, fingerprints, faceprints, and voiceprints, iris or retina YES
                                   scans, keystroke, gait, or other physical patterns, and sleep, health, or
                                   exercise data.

F. Internet or other similar       Browsing history, search history, information on a consumer's interaction
                                                                                                             YES
network activity.                  with a website, application, or advertisement.

G. Geolocation data.               Physical location or movements.                                               YES



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H. Sensory data.                    Audio, electronic, visual, thermal, olfactory, or similar information.          YES

I. Professional or employment-
                                    Current or past job history or performance evaluations.                         YES
related information.

J. Non-public education
                                    Education records directly related to a student maintained by an
information (per the Family
                                    educational institution or party acting on its behalf, such as grades,
Educational Rights and Privacy                                                                                      YES
                                    transcripts, class lists, student schedules, student identification codes,
Act (20 U.S.C. Section 1232g,
                                    student financial information, or student disciplinary records.
34 C.F.R. Part 99)).

                                    Profile reflecting a person's preferences, characteristics, psychological
K. Inferences drawn from other
                                    trends, predispositions, behavior, attitudes, intelligence, abilities, and      YES
personal information.
                                    aptitudes.



Stewart obtains the categories of personal and sensitive information listed above from the following categories of sources:

         Directly and indirectly from customers, their designees, or their agents (For example, realtors, lenders, attorneys,
          brokers, etc.)
         Directly and indirectly from activity on Stewart’s website or other applications.
         From third-parties that interact with Stewart in connection with the services we provide.

Use of Personal and Sensitive Personal Information

Stewart may use or disclose the personal or sensitive information we collect for one or more of the following purposes:

    a.   To fulfill or meet the reason for which the information is provided.
    b.   To provide, support, personalize, and develop our website, products, and services.
    c.   To create, maintain, customize, and secure your account with Stewart.
    d.   To process your requests, purchases, transactions, and payments and prevent transactional fraud.
    e.   To prevent and/or process claims.
    f.   To assist third party vendors/service providers who complete transactions or perform services on Stewart’s behalf
         pursuant to valid service provider agreements.
    g. As necessary or appropriate to protect the rights, property or safety of Stewart, our customers or others.
    h. To provide you with support and to respond to your inquiries, including to investigate and address your concerns
         and monitor and improve our responses.
    i. To personalize your website experience and to deliver content and product and service offerings relevant to your
         interests, including targeted offers and ads through our website, third-party sites, and via email or text message
         (with your consent, where required by law).
    j. To help maintain the safety, security, and integrity of our website, products and services, databases and other
         technology-based assets, and business.
    k. To respond to law enforcement or regulator requests as required by applicable law, court order, or governmental
         regulations.
    l. Auditing for compliance with federal and state laws, rules and regulations.
    m. Performing services including maintaining or servicing accounts, providing customer service, processing or fulfilling
         orders and transactions, verifying customer information, processing payments, providing advertising or marketing
         services or other similar services.
    n. To evaluate or conduct a merger, divestiture, restructuring, reorganization, dissolution, or other sale or transfer of
         some or all of our assets, whether as a going concern or as part of bankruptcy, liquidation, or similar proceeding,
         in which personal information held by us is among the assets transferred.
    Stewart will not collect additional categories of personal or sensitive information or use the personal or sensitive
    information we collected for materially different, unrelated, or incompatible purposes without providing you notice.

    Disclosure of Personal Information to Affiliated Companies and Nonaffiliated Third Parties

    Stewart does not sell your personal information to nonaffiliated third parties. Stewart may share your information
    with those you have designated as your agent throughout the course of your transaction (for example, a realtor,
    broker, or a lender). Stewart may disclose your personal information to a third party for a business purpose.

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    Typically, when we disclose personal information for a business purpose, we enter into a contract that describes the
    purpose and requires the recipient to both keep that personal information confidential and not use it for any purpose
    except performing the contract.

    We share your personal information with the following categories of third parties:

    a. Service providers and vendors we contract with to render specific services (For example, search companies,
         mobile notaries, and companies providing credit/debit card processing, billing, shipping, repair, customer service,
         auditing, marketing, etc.)
    b. Affiliated Companies.
    c. Parties involved in litigation and attorneys, as required by law.
    d. Financial rating organizations, rating bureaus and trade associations.
    e. Federal and State Regulators, law enforcement and other government entities
    In the preceding twelve (12) months, Stewart has disclosed the following categories of personal information for a
    business purpose:

         Category A: Identifiers
         Category B: California Customer Records personal information categories
         Category C: Protected classification characteristics under California or federal law
         Category D: Commercial Information
         Category E: Biometric Information
         Category F: Internet or other similar network activity
         Category G: Geolocation data
         Category H: Sensory data
         Category I: Professional or employment-related information
         Category J: Non-public education information
         Category K: Inferences

    Your Consumer Rights and Choices Under CPPA and CPRA

    Your Rights Under CCPA

    The CCPA provides consumers (California residents as defined in the CCPA) with specific rights regarding their
    personal information. This section describes your CCPA rights and explains how to exercise those rights.

    Access to Specific Information and Data Portability Rights

    You have the right to request that Stewart disclose certain information to you about our collection and use of your
    personal information over the past 12 months. Once we receive and confirm your verifiable consumer request,
    Stewart will disclose to you:

        The categories of personal information Stewart collected about you.
        The categories of sources for the personal information Stewart collected about you.
        Stewart’s business or commercial purpose for collecting that personal information.
        The categories of third parties with whom Stewart shares that personal information.
        The specific pieces of personal information Stewart collected about you (also called a data portability request).
        If Stewart disclosed your personal data for a business purpose, a listing identifying the personal information
         categories that each category of recipient obtained.

    Deletion Request Rights

    You have the right to request that Stewart delete any of your personal information we collected from you and
    retained, subject to certain exceptions. Once we receive and confirm your verifiable consumer request, Stewart will
    delete (and direct our service providers to delete) your personal information from our records, unless an exception
    applies.
    Stewart may deny your deletion request if retaining the information is necessary for us or our service providers to:




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     1. Complete the transaction for which we collected the personal information, provide a good or service that you
        requested, take actions reasonably anticipated within the context of our ongoing business relationship with you,
        or otherwise perform our contract with you.
     2. Detect security incidents, protect against malicious, deceptive, fraudulent, or illegal activity, or prosecute those
        responsible for such activities.
     3. Debug products to identify and repair errors that impair existing intended functionality.
     4. Exercise free speech, ensure the right of another consumer to exercise their free speech rights, or exercise
        another right provided for by law.
     5. Comply with the California Electronic Communications Privacy Act (Cal. Penal Code § 1546 seq.).
     6. Engage in public or peer-reviewed scientific, historical, or statistical research in the public interest that adheres to
        all other applicable ethics and privacy laws, when the information’s deletion may likely render impossible or
        seriously impair the research’s achievement, if you previously provided informed consent.
     7. Enable solely internal uses that are reasonably aligned with consumer expectations based on your relationship
        with us.
     8. Comply with a legal obligation.
     9. Make other internal and lawful uses of that information that are compatible with the context in which you provided
        it.
Your Rights Under CPRA
CPRA expands upon your consumer rights and protections offered by the CCPA. This section describes your CPRA rights
and explains how to exercise those rights.
Opt-Out of Information Sharing and Selling
Stewart does not share or sell information to third parties, as the terms are defined under the CCPA and CPRA. Stewart
only shares your personal information as commercially necessary and in accordance with this CCPA & CPRA Notice.
Correction of Inaccurate Information
You have the right to request that Stewart correct any inaccurate information maintained about.
Limit the Use of Sensitive Personal Information
You have the right to limit how your sensitive personal information, as defined in the CCPA and CPRA is disclosed or
shared with third parties.
Exercising Your Rights Under CCPA and CPRA
To exercise the access, data portability, deletion, opt-out, correction, or limitation rights described above, please submit a
verifiable consumer request to us by the available means provided below:
     1. Calling us Toll Free at 1-866-571-9270; or

     2. Emailing us at Privacyrequest@stewart.com; or

     3. Visiting http://stewart.com/ccpa.

Only you, or someone legally authorized to act on your behalf, may make a verifiable consumer request related to your
personal information. You may also make a verifiable consumer request on behalf of your minor child, if applicable.
To designate an authorized agent, please contact Stewart through one of the methods mentioned above.
You may only make a verifiable consumer request for access or data portability twice within a 12-month period. The
verifiable consumer request must:

     Provide sufficient information that allows us to reasonably verify you are the person about whom we collected personal
      information or an authorized representative.

     Describe your request with sufficient detail that allows us to properly understand, evaluate, and respond to it.

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Stewart cannot respond to your request or provide you with personal information if we cannot verify your identity or authority
to make the request and confirm the personal information relates to you.
Making a verifiable consumer request does not require you to create an account with Stewart.
Response Timing and Format
We endeavor to respond to a verifiable consumer request within forty-five (45) days of its receipt. If we require more time
(up to an additional 45 days), we will inform you of the reason and extension period in writing.
A written response will be delivered by mail or electronically, at your option.
Any disclosures we provide will only cover the 12-month period preceding the verifiable consumer request’s receipt. The
response we provide will also explain the reasons we cannot comply with a request, if applicable. For data portability
requests, we will select a format to provide your personal information that is readily useable and should allow you to transmit
the information from one entity to another entity without hindrance.
Stewart does not charge a fee to process or respond to your verifiable consumer request unless it is excessive, repetitive,
or manifestly unfounded. If we determine that the request warrants a fee, we will tell you why we made that decision and
provide you with a cost estimate before completing your request.
Non-Discrimination
Stewart will not discriminate against you for exercising any of your CCPA and CPRA rights. Unless permitted by the CCPA
or CPRA, we will not:

        Deny you goods or services.
        Charge you a different prices or rates for goods or services, including through granting discounts or other benefits,
         or imposing penalties.
        Provide you a different level or quality of goods or services.
        Suggest that you may receive a different price or rate for goods or services or a different level or quality of goods
         or services.

Record Retention
Your personal information will not be kept for longer than is necessary for the business purpose for which it is collected
and processed. We will retain your personal information and records based on established record retention policies
pursuant to California law and in compliance with all federal and state retention obligations. Additionally, we will retain your
personal information to comply with applicable laws, regulations, and legal processes (such as responding to subpoenas
or court orders), and to respond to legal claims, resolve disputes, and comply with legal or regulatory recordkeeping
requirements
Changes to This CCPRA & CPRA Notice
Stewart reserves the right to amend this CCPA & CPRA Notice at our discretion and at any time. When we make changes
to this CCPA & CPRA Notice, we will post the updated Notice on Stewart’s website and update the Notice’s effective date.
Link to Privacy Notice
Stewarts Privacy Notice can be found on our website at https://www.stewart.com/en/privacy.html.
Contact Information
If you have questions or comments about this notice, the ways in which Stewart collects and uses your information
described herein, your choices and rights regarding such use, or wish to exercise your rights under California law, please
do not hesitate to contact us at:
Phone:              Toll Free at 1-866-571-9270
Website:            http://stewart.com/ccpa
Email:              Privacyrequest@stewart.com
Postal Address: Stewart Information Services Corporation
                Attn: Mary Thomas, Chief Compliance and Regulatory Officer
                1360 Post Oak Blvd., Ste. 100, MC #14-1
                Houston, TX 77056

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